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HANSZEN*LAPORTE

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October 7, 2022
BY ECF

Hon. Jennifer L. Rochon
United States District Judge
500 Pearl St., Room 1920
New York, N.Y. 10007

Re: — Ecopetrol S.A. v. Offshore Exploration and Production, LLC; 18 Civ. 10024 (JLR);
Pretrial Conference set for October 12, 2022.

Dear Judge Rochon:

I am lead counsel for respondent. I write on both parties’ behalf to request, pursuant to
Individual Rule 2.A., that the pretrial conference set for October 12, 2022, be held remotely, via
video. Both parties’ respective lead counsel, who are most familiar with the action before this
Court and the underlying arbitration proceeding, are located in Houston, Texas. The Parties believe
a remote video conference will best enable the Parties to address any questions from the Court
without undue travel expense.

The parties appreciate the Court’s attention to this matter and are available at the Court’s
convenience should the Court have any questions.

SoH submitted,

VAAL Z

S.C. Hansel

cc: All Counsel via ECF

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